  Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 1 of 37 PAGEID #: 1



                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO

ALGORITHM, INC.
700 Stonehenge Parkway
Dublin, Ohio 43017,

ATTIVO GROUP, LLC
260 Peachtree Road, Suite 2200              Case No. 2:18-cv-01394
Atlanta, Georgia 30303,

BUSINESS COMPUTER TECHNOLOGIES, INC.        Judge
4960 South Gilbert Road, Suite 1-490
Chandler, Arizona 85249,

COPIOUS SOLUTIONS, LLC                      JURY DEMAND ENDORSED HEREON
101 Industrial Park Road, Suite 204
Taunton, Massachusetts 02780,

DATASPRING, INC.
56 Parkway Commons Way
Greer, South Carolina 29650,

THE DONAS GROUP, INC.
3550 West Salt Creek Lane, Suite 110
Arlington Heights, Illinois 60005,

EXCEPTIONAL SOFTWARE SOLUTIONS LLC
17901 Monaghan Run
Bonita Springs, Florida 34135,

FANNIN CONSULTING, INC.
DBA QUEST – IV, INC.
7116 Summerfield Road
Temperance, Michigan 48144,

IPRO, INC.
401 South Wall Street, Suite 201
Calhoun, Georgia 30701,

MAYER, SHANZER & MAYER, P.C.
918 Maple Street
Conshohocken, Pennsylvania 19428,
     Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 2 of 37 PAGEID #: 2



RED DEER VENTURES, INC.
DBA RED DEER SYSTEMS
1835-A South Centre City Parkway, PMB 448
Escondido, California 92025,

SOFTWARE SOLUTIONS, INC.
10570 Justin Drive
Urbandale, Iowa 50322,

TRIANGLE PARTNERS, INC.
23890 Copper Hill Drive, Suite 159
Valencia, California 91354,

              Plaintiffs.

v.

ECI MACOLA/MAX, LLC
5455 Rings Road, Suite 100
Dublin, Ohio 43017,

              Defendant.



                             PLAINTIFFS’ VERIFIED COMPLAINT

         Plaintiffs by and through their attorneys hereby allege as follows:

         1.       This case arises from the unlawful and anticompetitive scheme of a software

company—Defendant ECi Macola/MAX, LLC (“ECI”)—to put its former distributor partners—

Plaintiffs (the “Resellers”)—out of business and create a monopoly for itself in markets created

and sustained by the Resellers for twenty-five years.

         2.       ECI is the most recent in a long line of owners of a business software platform

called Macola. For decades, ECI and its predecessors have relied on the Resellers not only to

sell Macola to end users (the “End Users”), but also to provide a wide array of support and

consulting services necessary to successfully integrate the software into End Users’ business

operations.



                                                   2
    Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 3 of 37 PAGEID #: 3



        3.     In creating a market for Macola and assisting End Users with implementing the

software, the Resellers have developed expertise regarding Macola. They have acquired a deep

understanding of Macola’s design, born of a long acquaintance with the software and a

familiarity with its historical development to meet new needs and technological innovations.

        4.     The Resellers have also cultivated expertise in helping End Users tailor Macola to

their needs and integrate it into their businesses (“Consulting”), and in providing daily helpdesk

service (“Support”). These services involve not only product knowledge, but also understanding

the needs of Macola’s core users—small- and medium-sized businesses, particularly those

engaged in manufacturing.

        5.     In meeting End Users’ unique needs, the Resellers have developed a wide array of

custom programs, applications, forms, reports, code, workarounds, documentation, and

procedures (the “Reseller Technology”). The Reseller Technology remains embedded in

hundreds if not thousands of End Users’ business systems, often inextricably linked with and

critical to the functioning of Macola.

        6.     ECI and its predecessors, meanwhile, have largely been content to leave these

sales, Support, and Consulting services to the Resellers. The relationship between ECI and the

Resellers is governed by a Reseller Agreement. 1




1
  Each Reseller has signed a separate Reseller Agreement with ECI, and, in general, the Reseller
Agreements largely do not differ substantively from one another on the issues relevant here.
This Verified Complaint therefore refers to them collectively as the “Reseller Agreement.”
Nevertheless, the Reseller Agreements have been executed at different times and so there are
essentially four versions of the Reseller Agreement involved here. Exhibit A includes all of the
“Version 1” Reseller Agreements, Exhibit B includes “Version 2” agreements, Exhibit C
includes “Version 3” agreements, and Exhibit D includes “Version 4” agreements. Exhibit E is a
summary table showing which version of the Reseller Agreement each Reseller has executed. In
this Verified Complaint, where there are discrepancies among the agreements, either
substantively or in wording or section numbering, that fact is reflected in the citations.


                                                 3
  Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 4 of 37 PAGEID #: 4



       7.        Now, ECI has decided to sever its relationship with the Resellers and sell Macola

directly to End Users. But rather than compete for the End Users’ Support and Consulting

business, ECI has resorted to unlawful, anticompetitive tactics, breaching its contracts with the

Resellers, tortiously interfering with End Users’ and Resellers’ relationships, and violating state

and federal antitrust law.

       8.        ECI’s misinformation and misconduct, which have already caused the Resellers

economic losses, threaten irreparable harm to the Resellers, permanently damaging their good

will and threatening to put them out of business.

       9.        Through this litigation, the Resellers seek the following relief: first, recovery of

the damages caused by ECI’s breaches of contract, tortious interference, unfair competition, and

antitrust violations; second, a declaratory judgment stating that after termination of the Reseller

Agreement, (a) the Resellers and End Users are free to continue to do business together,

(b) ECI’s obligation to pay commissions to the Resellers under the Reseller Agreement survives,

and (c) ECI is prohibited from using, adopting, or incorporating the Reseller Technology; and

third, a temporary restraining order and preliminary and permanent injunctions (a) prohibiting

ECI from further wrongful interference in the contractual and ongoing business relationships

between the Resellers and End Users, (b) prohibiting ECI from carrying out its unlawful tying

arrangement, (c) prohibiting ECI from further attempts to monopolize the markets for Support

and Consulting, (d) requiring ECI to continue commission payments to the Resellers under the

Reseller Agreement, and (e) prohibiting ECI from further

             .

                                              PARTIES

       10.       Plaintiff Algorithm, Inc. is an Ohio for-profit corporation with its principal place

of business in Ohio.


                                                   4
  Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 5 of 37 PAGEID #: 5



       11.     Plaintiff Attivo Group, LLC is a Delaware limited liability company whose

members are citizens of Georgia.

       12.     Plaintiff Business Computer Technologies, Inc. is an Arizona for-profit

corporation with its principal place of business in Arizona.

       13.     Plaintiff Copious Solutions, LLC is a Massachusetts limited liability company

whose sole member is a citizen of Massachusetts.

       14.     Plaintiff DataSpring, Inc. is a South Carolina for-profit corporation with its

principal place of business in South Carolina.

       15.     Plaintiff The Donas Group, Inc. is an Illinois for-profit corporation with its

principal place of business in Illinois.

       16.     Plaintiff Exceptional Software Solutions LLC is a Florida limited liability

company whose sole member is a citizen of Florida.

       17.     Plaintiff Fannin Consulting, Inc. is a Michigan for-profit corporation with its

principal place of business in Michigan.

       18.     Plaintiff iPro, Inc. is a Georgia for-profit corporation with its principal place of

business in Georgia.

       19.     Plaintiff Mayer, Shanzer & Mayer, P.C. is a Pennsylvania professional

corporation with its principal place of business in Pennsylvania.

       20.     Plaintiff Red Deer Ventures, Inc. is a California for-profit corporation with its

principal place of business in California.

       21.     Plaintiff Software Solutions, Inc. is an Iowa for-profit corporation with its

principal place of business in Iowa.




                                                  5
  Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 6 of 37 PAGEID #: 6



       22.     Plaintiff Triangle Partners, Inc. is a California for-profit corporation with its

principal place of business in California.

       23.     Defendant ECI is a Delaware limited liability company whose sole member, ECi

Software Solutions, Inc., is a Delaware corporation with its principal place of business in Texas.

ECI was formerly known as Exact Software North America, LLC (“Exact”).

                                 JURISDICTION AND VENUE

       24.     This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because it involves claims arising under federal law, specifically 15 U.S.C. §§ 1 & 2.

       25.     This Court also has subject-matter jurisdiction over this action pursuant to 28

U.S.C. § 1332 because the parties are citizens of different states and the amount in controversy

between each Reseller and ECI exceeds $75,000. Complete diversity exists among the parties

because Defendant ECI is a citizen of Texas and Delaware and none of the Plaintiffs is a citizen

of Texas or Delaware.

       26.     This Court has personal jurisdiction over Defendant ECI because it transacts

business in Ohio and has submitted to the Court’s jurisdiction under the Reseller Agreement.

(Exs. A & B, § 12.8; Exs. C & D, § 12.7).

       27.     Under the Reseller Agreement, the parties agree that venue is proper only in “the

state or federal courts for Franklin County, Ohio.” (Id.). Moreover, venue is proper in this Court

under 28 U.S.C. § 1391(b) because Defendant ECI resides in this District and a substantial part

of the events or omissions giving rise to the claim occurred in this District.

                                  FACTUAL ALLEGATIONS

                          The Resellers develop a market for Macola.

       28.     Macola is generally referred to as enterprise resource planning (“ERP”) software,

meaning that it is a single system integrating multiple modules, each of which controls some


                                                  6
  Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 7 of 37 PAGEID #: 7



portion of a business’s operations. For example, Macola can perform many common business

functions such as customer-relationship management, accounting, and billing, and also many

specialty functions such as project management and quality control of manufacturing processes.

       29.     A variety of third-party software integrates with Macola. ECI sells some of this

third-party software, largely through the Resellers, and several of the Resellers also

independently sell other third-party software.

       30.     Because Macola performs so many critical business functions, it must be carefully

integrated into each End User’s unique business operations. In many cases Macola must be

extensively modified for End Users and incorporated with and/or enhanced by third-party

software and custom modifications.

       31.     The process of preparing for a Macola “go live” date often involves months of

planning, testing, and training, and even End Users with large IT departments frequently rely on

the Resellers for assistance with the process.

       32.     Many End Users require the assistance of professional consultants such as the

Resellers to assist with the process of installing, integrating, and configuring Macola. In this

capacity, Resellers work with End Users to understand how their businesses work and then

implement Macola in the most effective and efficient way possible. Many of these Reseller

services are largely independent of Macola and relate to business best practices such as

improving inventory-record accuracy or offering payment terms that reduce days receivables

outstanding. These services are collectively referred to herein as “Consulting.”

       33.     Aside from Consulting, End Users also frequently purchase from the Resellers a

helpdesk service, allowing End Users to call the Reseller when they have questions relating to

Macola. These services are referred to herein as “Support.”




                                                 7
  Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 8 of 37 PAGEID #: 8



       34.     Finally, End Users generally purchase a maintenance plan, which consists

principally of ongoing Macola software updates, patches, and error corrections. This service is

referred to hereinafter as “Maintenance.”

       35.     When an End User purchases Macola, it enters into a standard license agreement

with ECI (the “License Agreement”). ECI also requires End Users to sign new license

agreements when certain other events occur.

       36.     Under the License Agreement, ECI requires End Users to pay for Maintenance

with their initial purchase of Macola. The Reseller Agreement

                                                . (Exs. A–D, § 5.1). When an End User

purchases Macola from a Reseller, ECI

                                                                             .” (Id.).

Maintenance automatically renews annually, and Resellers

                                                              . This commission arrangement

reflects the parties’ understanding that margin back commissions allow the Reseller to recoup

their extensive investment in the Macola sales process.

       37.     Each End User is registered in ECI’s customer database as a customer of one of

the Resellers or as an ECI “Direct” customer.




                                  , (Exs. C & D, § 4.2(e)).




                                                 8
  Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 9 of 37 PAGEID #: 9



                ECI begins competing with the Resellers, committing multiple
                            breaches of the Reseller Agreement.

       38.     In late 2017, soon after ECI was acquired by ECi Software Solutions, Inc., ECI

began to reveal a new corporate strategy of trying to take Support and Consulting business—

along with its revenue stream—from the Resellers through predatory offers of software

discounts. On one such occasion, a potential end user was interested in purchasing Macola and

related Support services through Plaintiff Algorithm. ECI offered the customer a deep discount

on the software—but only if the customer purchased Support from ECI rather than from

Algorithm. The potential end user walked away in frustration and disgust with ECI’s strong-arm

conduct.

       39.     In recent months, ECI’s anticompetitive tactics and campaign of misinformation

have only become more overt, resulting in multiple breaches of the Reseller Agreement.

       40.     On September 13, 2018, ECI conducted a webinar for End Users announcing that

it was now offering a new discounted Enterprise License Agreement (“ELA”) program. An ELA

is one of the ways End Users can elect to pay to license Macola. In contrast to traditional per-

user license-fee arrangements, ELAs provide larger companies the ability to change the number

of users over time while maintaining fixed, predictable pricing. Through the webinar, ECI also

offered End Users participating in the ELA program free Consulting.

       41.     ECI refused to extend the discounted ELA program to the Resellers.

       42.     ECI’s exclusive webinar offerings violate the Reseller Agreement in two ways.

       43.     First, under the Reseller Agreement,



                                                                     .” (Exs. A–D, § 4.2(f)




                                                 9
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 10 of 37 PAGEID #: 10



(emphasis added)). By                                                                 , ECI

violated section 4.2(f) of the Reseller Agreement.

       44.     Second, ECI’s webinar offer also violates the Reseller Agreement by

                     .



                                            .” (See Exs. C & D, § 4.2(e)).

                                        .

       45.     There have been additional breaches as well.

       46.     In direct violation of the Reseller Agreement, ECI has

                                                               . (Exs. A & B, at Ex. E;

Exs. C & D, at Ex. IV).

       47.     Also in direct violation of the Reseller Agreement, ECI has




                                                                        .” (Exs. C & D,

§ 12.13). In October 2018, ECI



                                               . The email states that ECI is looking for

“resources who currently have expertise in [ECI products] and may also have interest in

broadening their expertise.” “If becoming an ECi Independent Contractor is of interest to

you,” the email says, “please email me back to arrange a time to discuss.”




                                                10
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 11 of 37 PAGEID #: 11



                  ECI gives notice of termination to Resellers and threatens
                   multiple additional breaches of the Reseller Agreement.

       48.     On October 1, 2018, ECI sent the Resellers a letter stating that ECI intended to

terminate the Reseller Agreement effective December 31, 2018 (the “Termination Letter,” a

representative copy of which is attached as Exhibit F).

       49.     The Termination Letter could hardly be more explicit in its intention to quash

competition and terminate the Resellers’ business relationships:

               any agreements between [Reseller] and any customers regarding
               the provision of support services by [Reseller] should be
               discontinued as of the effective date of termination of the
               Agreement, as [Reseller] will no longer be authorized to support
               ECI Licensed Products or invoice end users for Enterprise Support
               Services.    [Reseller] will also cease to be an authorized
               professional services provider upon termination of the Agreement,
               and will not be permitted to access or perform services on any
               ECI Licensed Products.

(Ex. F at 2 (emphases added)). For good reason, ECI provided no citation to the Reseller

Agreement for this proposition.

       50.     Moreover, the Termination Letter states ECI’s intention to stop paying the

Resellers ongoing margin back commissions for business they have brought in. According to

ECI, upon termination the Resellers “will cease being eligible for margin back payments for

maintenance and support contracts where ECI billed an end user for Enterprise Support

renewals.” (Id.). Again, ECI could find nothing in the Reseller Agreement to support this threat.

       51.     In fact, the Reseller Agreement places no impediment on the Resellers’ ability to

provide ongoing Support and Consulting to End Users, and it obligates ECI to

                                       after termination of the Reseller Agreement.




                                                11
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 12 of 37 PAGEID #: 12



                ECI fraudulently misrepresents to End Users that they can no
                              longer work with the Resellers.

       52.     Also on October 1, 2018, ECI sent End Users a letter (the “End User Letter,” a

representative copy of which is attached as Exhibit G).

       53.     The End User Letter fraudulently states that under the License Agreement the

Resellers will no longer be able to provide “support services for the Macola software products, or

perform consulting services for Macola software products that are directly licensed to you [i.e.,

the End User].” (Id.). Similarly, the End User Letter states, “After December 31, 2018 your

Solution Provider [i.e., Reseller] will no longer be able to offer support or consulting services for

Macola products.” (Id.).

       54.     The End User Letter then informs the End User that ECI is its only choice for any

services related to Macola: “All future licensing transactions will be directly with ECi and

professional services for ECi products may only be performed by ECi and its authorized services

providers, which may include independent contractors with Macola product expertise from a

variety of sources, including former Solution Providers.” (Id.).

       55.     After sending the End User Letter, ECI has held several webinars for End Users

in which it has repeated its fraudulent claims that End Users are prohibited by the License

Agreement from giving Resellers access to the Macola software, and thus are prohibited from

receiving Support or Consulting from anyone other than ECI.

       56.     In fact, as ECI knows, the License Agreement says no such thing. Rather, it

specifically permits End Users to hire consultants such as the Resellers to assist with Macola

software: “[End User] further agrees that it shall not make any disclosure of any or all

Proprietary Information [including Macola] to anyone, except to employees and contractors of

[End User] to whom such disclosure is necessary to the use for which rights are granted



                                                 12
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 13 of 37 PAGEID #: 13



hereunder, provided that any such consultants first agree in writing to be bound by the provisions

of Sections 4 and 6 of this Agreement.”

       57.     ECI knows full well that its claims regarding the License Agreement are

illegitimate. Indeed, since announcing the planned termination, ECI has begun trying to force

new, more-restrictive license agreements on End Users that actually do prevent them from

working with third parties such as the Resellers in the future. For example, in the new

agreements, ECI has removed the language quoted above that permits “contractors” such as the

Resellers to access Macola.

                ECI violates state and federal antitrust laws through unlawful
                            tying and attempted monopolization.

       58.     The End User and Termination Letters represent ECI’s first steps in a deeply

anticompetitive scheme that violates state and federal antitrust law.

       59.     ECI’s endgame—about which it has been crystal clear—is to destroy all

competition in the markets for Support and Consulting and use its monopoly power to extract

above-market prices from captive End Users.

       60.     As ECI knows well, End Users who have already adopted Macola cannot turn to a

competitive ERP product without sustaining extremely high switching costs.

       61.     Moreover, ECI already has a monopoly on the market for Maintenance—no other

provider offers Maintenance for Macola.

       62.     Purchasing Maintenance is necessary for an End User to receive the full value of

Macola over time, as bugs or other errors are discovered and improvements are developed.

Indeed, End Users who forgo Maintenance and no longer have access to software patches can

find that their Macola software is no longer compatible with new versions of the underlying




                                                13
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 14 of 37 PAGEID #: 14



Microsoft operating system. For these reasons, a large proportion of End Users purchases

Maintenance.

       63.      Recognizing the vulnerability of its captive End Users, ECI is requiring End

Users who wish to purchase Maintenance to purchase Support as well (a service that was

previously optional)—whether they want it or not.

       64.      This arrangement—conditioning Maintenance on buying Support from ECI—

exploits the End Users’ inability to switch to a competitor.

       65.      The arrangement effectively doubles the cost of Maintenance and destroys

competition in the Support market.

       66.      Moreover, ECI’s misrepresentations regarding the terms of the License

Agreement and the Reseller Agreement represent a separate attempt to monopolize the markets

for Support and Consulting by preventing competition from the Resellers in those markets.

       67.      Some Resellers are harmed not only by being excluded from competing, but also

because they are End Users themselves and use Macola for their own internal business purposes.

       68.      Taken all together, ECI’s cynical strategy is clear. To capture a larger share of

the business that the Resellers have built up over twenty-five years, ECI is attempting through

fraud and coercion to prevent Resellers and End Users from doing business together. Once the

Resellers are crippled and End Users have nowhere else to turn, ECI can hire displaced Reseller

employees as cheap independent contractors and demand high profits from captive End Users.

                                          COUNT ONE

                                Breach of the Reseller Agreement

       69.      The Resellers incorporate and reallege the preceding paragraphs as if fully set

forth herein.

       70.      The Reseller Agreement is a valid, enforceable contract.


                                                 14
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 15 of 37 PAGEID #: 15



       71.    The Resellers have performed under the Reseller Agreement. Indeed, several of

the Resellers have earned a “Gold Partner” designation from ECI, and a testimonial video of

Plaintiff Algorithm’s President, Mike Oswalt, is featured on the homepage of ECI’s website.

       72.    Section 4.2(f) of the Reseller Agreement



                                                                   .” (Exs. A–D, § 4.2(f)). By

                                                                                               ,

ECI breached section 4.2(f).

       73.    Section 4.2(e) of the Reseller Agreement provides that

                                                                                          .”

(Exs. C & D, § 4.2(e)). ECI breached this section when it

                                       .

       74.    Section 12.13 of the Reseller Agreement provides that




                               .” (Exs. C & D, § 12.13). ECI breached section 12.13 when it

                                                                           .

       75.    The Reseller Agreement further provides that ECI must

                        . (Exs. A & B, at Ex. E; Exs. C & D, at Ex. IV). By

                                                                       , ECI has breached the

Reseller Agreement.




                                              15
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 16 of 37 PAGEID #: 16



       76.      The Resellers have been directly harmed by ECI’s multiple breaches of the

Reseller Agreement, including loss of business, diminishment of the value of the Reseller

business, and loss of employee good will.

                                           COUNT TWO

                                       Tortious Interference

       77.      The Resellers incorporate and reallege the preceding paragraphs as if fully set

forth herein.

       78.      The Resellers have both contractual relationships and ongoing business

relationships with End Users to provide Support and Consulting related to Macola.

       79.      ECI is well aware of these relationships, which it documents for its own business

purposes and, until recently, has facilitated.

       80.      ECI is attempting to terminate these relationships completely by fraudulently

telling End Users that continuing in these relationships will result in a breach of the License

Agreement.

       81.      ECI’s fraudulent behavior is unjustified. The License Agreements do not prohibit

third-party access to the Macola software. In fact, they permit it under precisely the

circumstances in which End Users seek the Resellers’ Support and Consulting services. ECI

knows this and is attempting to fix the problem by forcing captive End Users to sign new, more

restrictive license agreements that do in fact prohibit third-party access.

       82.      As a result of ECI’s tortious interference, the Resellers have already incurred

damages including loss of business opportunities and diminishment of the value of the Resellers’

businesses, and the Resellers face complete financial ruin if ECI’s unlawful interference

continues to sow uncertainty and fear. Moreover, ECI’s tortious interference is causing the

Resellers a loss of customer good will by suggesting that the Resellers are prohibited business


                                                 16
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 17 of 37 PAGEID #: 17



partners. End Users represent a substantial proportion of the Resellers’ customers, and it is

impossible to know the extent of the damages that ECI’s conduct will cause.

                                         COUNT THREE

                                       Unfair Competition

       83.      The Resellers incorporate and reallege the preceding paragraphs as if fully set

forth herein.

       84.      Unfair competition “extend[s] to the circulation of false rumors, or publication of

statements, all designed to harm the business of another.” Ancestry.com Operations, Inc. v. DNA

Diagnostics Ctr., Inc., 2016 U.S. Dist. Lexis 97297, at *12 (S.D. Ohio July 26, 2016) (quoting

Molten Metal Equip. v. Metaullics Sys., Co., 2000 Ohio App. Lexis 2538, at *15 (Ohio Ct. App.

June 8, 2000)).

       85.      In falsely telling End Users that the Resellers are prohibited from accessing the

End Users’ Macola systems, with the intention of hurting the Resellers’ business, ECI has

engaged in unfair competition.

       86.      ECI’s misrepresentations have caused the Resellers to lose business opportunities

and threaten the loss of unknown future opportunities.

                                         COUNT FOUR

                                         Antitrust Tying

       87.      The Resellers incorporate and reallege the preceding paragraphs as if fully set

forth herein.

       88.      Section 1 of the Sherman Antitrust Act and Chapter 1331 of the Ohio Revised

Code prohibit tying arrangements. “A tying arrangement is ‘an agreement by a party to sell one

product but only on the condition that the buyer also purchases a different (or tied) product, or at

least agrees that he will not purchase that product from any other supplier.’” Eastman Kodak Co.


                                                 17
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 18 of 37 PAGEID #: 18



v. Image Tech. Servs., 504 U.S. 451, 461-62 (1992) (quoting Northern Pacific R. Co. v. United

States, 356 U.S. 1, 5-6 (1958)).

       89.     Tying arrangements must involve at least two distinct products or services. Id. at

462. For example, “[f]or service and parts to be considered two distinct products, there must be

sufficient consumer demand so that it is efficient for a firm to provide service separately from

parts.” Id. Here, Maintenance is a distinct product from Support because the Resellers have

historically provided Support without also providing Maintenance.

       90.     The relevant market for antitrust tying analysis is the U.S. market for Macola

Maintenance, which includes software updates, patches, bug fixes, and other error corrections.

       91.     ECI has unrivaled market power in the U.S. Maintenance market because ECI is

the sole source of Maintenance.

       92.     ECI is using its market power over Maintenance to force End Users to purchase

Support. ECI has confirmed that even End Users who do not want Support service will

nevertheless have to pay for such service if they wish to continue to receive Maintenance.

       93.     ECI’s tying arrangement effectively doubles the cost of Maintenance.

       94.     This tying arrangement did not exist when End Users chose to purchase Macola in

the first instance; Support was an optional service. Accordingly, End Users could not have taken

the tying arrangement into account when initially calculating the full lifecycle cost of Macola.

       95.     End Users face high switching costs that make converting from Macola to a

different ERP system prohibitive. Moreover, these switching costs greatly outweigh the

increased aftermarket costs ECI is imposing on End Users through its tying arrangement. Thus,

to escape ECI’s monopoly pricing in the Macola aftermarket by switching to a competitive ERP




                                                18
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 19 of 37 PAGEID #: 19



system, End Users would have to make the economically irrational decision to incur greater

switching costs than the switch would offset through elimination of the monopoly pricing.

       96.      ECI’s change in policy to adopt the tying arrangement is being applied to these

locked-in End Users.

       97.      As a result of ECI’s antitrust violation, the Resellers—along with everyone else—

are prohibited from competing with ECI for Support.

       98.      Most End Users purchase Maintenance.

       99.      Support revenues make up a significant proportion of the Resellers’ gross

revenues.

       100.     ECI’s tying arrangement prevents a substantial volume of commerce in the

market for Support.

                                          COUNT FIVE

                              Antitrust Attempted Monopolization

       101.     The Resellers incorporate and reallege the preceding paragraphs as if fully set

forth herein.

       102.     Section 2 of the Sherman Antitrust Act and Chapter 1331 of the Ohio Revised

Code prohibit attempts to monopolize any part of commerce. Attempted monopolization occurs

where a defendant’s “predatory or anticompetitive conduct,” committed with “a specific intent to

monopolize,” results in “a dangerous probability of achieving monopoly power.” Spectrum

Sports v. McQuillan, 506 U.S. 447, 456 (1993).

       103.     The relevant markets for attempted monopolization analysis are the U.S. markets

for Macola Support and Consulting.

       104.     ECI’s stated goal is to be the sole supplier of Support and Consulting and to

exclude any third party from competing with it in these markets.


                                                19
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 20 of 37 PAGEID #: 20



       105.     To achieve this goal, ECI is making fraudulent misrepresentations to End Users

about the provisions of their current License Agreement, attempting to intimidate the Resellers

into avoiding competition, and pressuring End Users to sign new, more-restrictive license

agreements to exclude competition in the markets for Support and Consulting.

       106.     Given ECI’s persistent threats and its power over captive End Users, ECI’s

scheme to monopolize the Support and Consulting markets is dangerously likely to succeed.

       107.     Should ECI’s attempt succeed, the End Users would be left without competitive

options in the Support and Consulting markets. ECI has already proven through its tying

arrangement that it is likely to abuse this monopoly power to extract above-market prices from

captive End Users in the Support and Consulting markets.

       108.     The Resellers will lose substantial revenue if they are excluded from competing in

the markets for Support and Consulting.

                                           COUNT SIX

                                      Declaratory Judgment

       109.     The Resellers incorporate and reallege the preceding paragraphs as if fully set

forth herein.

       110.     ECI has informed the Resellers that (1) it intends to stop paying them margin back

commissions on current Maintenance contracts after the date of termination of the Reseller

Agreement; (2) it will consider the Resellers to be in breach of the Reseller Agreement if they

continue to do business with End Users after termination; and (3) it intends to take over all

Support and Consulting for End Users who have long done business with the Resellers and

whose Macola systems in many cases rely on Reseller Technology. A real and justiciable

controversy therefore exists over the meaning of the Reseller Agreement.




                                                20
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 21 of 37 PAGEID #: 21



       111.    The Reseller Agreement obligates ECI to

                                                                                               .

(Exs. A–D, § 5.1; see also Exs. A & B, at Ex. C; Exs. C & D, at Ex. III). Nothing in the Reseller

Agreement excuses ECI from that continuing obligation after termination.

       112.    Moreover, the Resellers are free under the Reseller Agreement to continue to

provide Support and Consulting to End Users after the date of termination. Nothing in the

Reseller Agreement prohibits such activity. Indeed, as to Consulting, the Reseller Agreement

explicitly acknowledges that ECI




      ” (Exs. C & D, § 5.2 (emphases added); see also Exs. A & B, § 5.2).

       113.    Finally, the Reseller Agreement provides that




                                                                                      .” (Exs.

A–D, § 3.4). Reseller Technology will remain valuable to the Resellers after termination of the

Reseller Agreement as it can be reused or repurposed for other clients. Section 3.4 survives

termination of the Reseller Agreement, and ECI’s plan to take over all Support and Consulting

for the End Users’ Macola systems would necessarily breach this provision.

       114.    ECI’s threatened actions under the Reseller Agreement jeopardize the Resellers’

very existence, as the Resellers would immediately lose the vast majority of their income and

business relationships if ECI makes good on its threats.




                                                21
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 22 of 37 PAGEID #: 22



                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Resellers respectfully request a jury trial and a judgment against

ECI in excess of $75,000 per Reseller as follows:

       a.     With respect to Count One, an order finding that ECI breached its contracts with
              the Resellers and awarding the Resellers actual and consequential damages, costs,
              attorneys’ fees, expenses, prejudgment interest, and post-judgment interest;

       b.     With respect to Count Two, an order finding that ECI tortiously interfered with
              the Resellers’ contractual and ongoing business relationships and awarding the
              Resellers actual, consequential, and punitive damages, costs, attorneys’ fees,
              expenses, prejudgment interest, and post-judgment interest;

       c.     With respect to Count Three, an order finding that ECI unfairly competed with the
              Resellers and awarding the Resellers actual, consequential, and punitive damages,
              costs, attorneys’ fees, expenses, prejudgment interest, and post-judgment interest;

       d.     With respect to Count Four, an order finding that ECI has imposed a tying
              arrangement in violation of federal antitrust laws and Chapter 1331 of the Ohio
              Revised Code and awarding the Resellers treble actual, consequential, and
              punitive damages, costs, attorneys’ fees, expenses, prejudgment interest, and post-
              judgment interest;

       e.     With respect to Count Five, an order finding that ECI is attempting
              monopolization in violation of federal antitrust laws and Chapter 1331 of the Ohio
              Revised Code and awarding the Resellers treble actual, consequential, and
              punitive damages, costs, attorneys’ fees, expenses, prejudgment interest, and post-
              judgment interest;

       f.     With respect to Count Six, an order finding that the Reseller Agreement
              (1) permits the Resellers to continue to provide Support and Consulting to End
              Users, (2) obligates ECI to continue making margin back commission payments
              to the Resellers on Maintenance; and (3) prohibits ECI from using, adopting, or
              otherwise incorporating Reseller Technology;

       g.     A temporary restraining order and preliminary and permanent injunctions,
              enjoining ECI (1) to continue margin back commission payments to the Resellers
              under the Reseller Agreement, (2) to refrain from further fraudulent
              misrepresentations that the Resellers and End Users may not do business together,
              (3) to stop imposing its unlawful tying arrangement on End Users, (4) to stop its
              attempts to monopolize the Support and Consulting markets, and (5) to refrain
              from further                                                      ; and

       h.     An order awarding all other relief as shall be deemed appropriate in the
              circumstances.



                                               22
 Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 23 of 37 PAGEID #: 23



Dated: November 7, 2018                 Respectfully submitted,

                                         /s/ Shawn J. Organ
                                        Shawn J. Organ (0042052)
                                           Trial Attorney
                                        David J. Twombly (0092558)
                                        Sean M. Stiff (0091811)
                                        Organ Cole llp
                                        1330 Dublin Road
                                        Columbus, Ohio 43215
                                        614.481.0900
                                        614.481.0904 (f)
                                        sjorgan@organcole.com
                                        djtwombly@organcole.com
                                        smstiff@organcole.com

                                        Attorneys for Plaintiffs Resellers




                                       23
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 24 of 37 PAGEID #: 24



                                      JURY DEMAND

     Plaintiffs demand a jury on all triable issues.

                                                        /s/ Shawn J. Organ
                                                       Shawn J. Organ




                                               24
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 25 of 37 PAGEID #: 25



                                       VERIFICATION


       I, Michael Oswalt, declare as follows:

   1. I am the owner of Algorithm, Inc.

   2. I have personal knowledge of Algorithm, Inc. and Defendant ECI and their activities

      described in the Verified Complaint, and if called to testify I would competently testify to

      the matters stated herein.

   3. I swear under penalty of perjury of the laws of the United States that the factual

      statements set forth in this Verified Complaint are true and correct to the best of my

      knowledge.




                                                            Michael Oswalt
                                                            Algorithm, Inc.


                                                                   /1-(,,-;!J'
                                                            Date




                                                25
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 26 of 37 PAGEID #: 26



                                      VERIFICATION


     I, Leonard Reo, declare as follows:

  1. I am an owner of Attivo Group, LLC.

  2. I have personal knowledge of Attivo Group, LLC and its activities described in the

     Verified Complaint, and if called to testify I would competently testify to the matters

     stated herein.

  3. I swear under penalty of perjury of the laws of the United States that the factual

     statements related to Attivo Group, LLC set forth in this Verified Complaint are true and

     correct to the best of my knowledge.



                                                           ______________________________
                                                           Leonard Reo
                                                           Attivo Group, LLC


                                                           ______________________________
                                                             November 6, 2018

                                                           Date




                                              26
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 27 of 37 PAGEID #: 27



                                     VERIFICATION


    I, Patrick Reiser, declare as follows:

1. I am an owner of Business Computer Technologies, Inc.

2. I have personal knowledge of Business Computer Technologies, Inc. and its activities

   described in the Verified Complaint, and if called to testify I would competently testify to

   the matters stated herein.

3. I swear under penalty of perjury of the laws of the United States that the factual

   statements related to Business Computer Technologies, Inc. set forth in this Verified

   Complaint are true and correct to the best bf my knowledge.



                                                          tl-L
                                                       Patrick Reiser
                                                       Business Computer Technologies, Inc.

                                                          1!/~J Zof J>
                                                       Date




                                             27
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 28 of 37 PAGEID #: 28




                                          VERIFICATION


          I, Charles Wise, declare as follows:

      1. I am the owner of Copious Solutions, LLC.

      2. I have personal knowledge of Copious Solutions, LLC and its activities described in the

         Verified Complaint, and if called to testify I would competently testify to the matters

         stated herein.

      3. I swear under penalty of perjury of the laws of the United States that the factual

         statements related to Copious Solutions, LLC set forth in this Verified Complaint are true

         and correct to the best of my knowledge.




                                                               Charles Wise
                                                               Copious Solutions, LLC




                                                               Date




                                                 28
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 29 of 37 PAGEID #: 29




                                         VERIFICATION


        I, Lars Johnson, declare as follows :

     I . I am an owner of DataSpring, Inc.

     2. I have personal knowledge of DataSpring, Inc. and its activities described in the Verified

        Complaint, and if called to testify I would competently testify to the matters stated herein.

     3. 1 swear under penalty of perjury of the laws of the United States that the factual

        statements related to DataSpring, Inc. set forth in this Verified Complaint are true and

        correct to the best of my knowledge.




                                                              Lars Johnson
                                                              DataSpring, Inc.




                                                              Date




                                                 29
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 30 of 37 PAGEID #: 30



                                      VERIFICATION


      I, Tod Replogle, declare as follows:

   1. I am the ow11.e r of Exceptional Software Solutions LLC.

  2. I have personal knowledge of Exceptional Software Solutions LLC and its activities

      described in the Verified Complaint, and if called to testify I would competently testify to

      the matters stated herein.

  3. I swear under penalty of pe1jury of the laws of the United States that the factual

      statements related to Exceptional Software Solutions LLC set forth in this Verified

      Complaint are true and correct to the best of my knowledge .




                                      ...
                                                           Date




                                               30
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 31 of 37 PAGEID #: 31



                                      VERIFICATION


     I, Bart Fannin, declare as follows:

  l. I am an owner of Fannin Consulting, Inc.

 2. I have personal knowledge of Fannin Consulting, Inc. and its activities described in the

     Verified Complaint, and if called to testify I would competently testify to the matters

     stated herein.

 3. I swear under penalty of perjury of the laws of the United States that the factual

     statements related to Fannin Consulting, Inc. set forth in this Verified Complaint are true

     and correct to the best of my knowledge.




                                                          Bart Fannin
                                                          Fannin Consulting, Inc.




                                                          Date




                                             31
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 32 of 37 PAGEID #: 32



                                      VERIFJ CATION


     1, Jeffrey DeSchon, declare as follows:

  1. I am a co-owner and Vice President and Secretary of the Board of Directors of iPro. Inc.

  2. J have personal knowledge of iPro, Inc. and its activities described in the Verified

     Complaint. and if called to testify I would competently testify to the matters stated herein.

  3. I swear under penalty of perjury of the laws of the United States that the factua l

     statements related to iPro, Inc. set forth in this Verified Complaint are true and correct to

     the best of my knowledge.




                                                            iPro, Inc.


                                                                         11 / fo /   ,;<o/,E
                                                            Date




                                               32
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 33 of 37 PAGEID #: 33



                                      VERIFICATION


     I, Jeffrey D. Mayer, declare as follows:

  1. I am an owner of Mayer, Shanzer & Mayer, P.C.

  2. I have personal knowledge of Mayer, Shanzer & Mayer, P.C. and its activities described

     in the Verified Complaint, and if called to testify I would competently testify to the

     matters stated herein.

  3. I swear under penalty of perjury of the laws of the United States that the factual

     statements related to Mayer, Shanzer & Mayer, P.C. set forth in this Verified Complaint

     are true and correct to the best of my knowledge.




                                                                  D. Mayer
                                                           Ma er, Shanzer & Mayer, P.C.




                                                           Date




                                                33
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 34 of 37 PAGEID #: 34




                                        VERIFICATION


       I, Teresa T. Peterson, declare as follows:

    I. I am an owner of Red Deer Ventures, Inc.

   2. I have personal knowledge of Red Deer Ventures, Inc. and its activities described in
                                                                                           the
       Verified Complaint, and if called to testify I would competently testify to the matters

      stated herein.

   3. I swear under penalty of perjury of the laws of the United States that the factual

      statements related to Red Deer Ventures, Inc. set forth in this Verified Complaint are true

      and correct to the best of my know ledge.




                                                            eresa T. Peterson
                                                           Red Deer Ventures, Inc.




                                                           Date




                                             34
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 35 of 37 PAGEID #: 35




                                       VERIFICATION


      I, Ken Miner, declare as follows:

   1. I am an owner of Software Solutions, Inc.

   2. I have personal knowledge of Software Solutions, Inc. and its activities described in the

      Verified Complaint, and if called to testify I would competently testify to the matters

      stated herein.

   3. I swear under penalty of perjury of the laws of the United States that the factual

      statements related to Software Solutions, Inc. set forth in this Verified Complaint are true

      and correct to the best of my knowledge.




                                                            ~
                                                            KenMiner
                                                            Software Solutions, Inc.




                                                            Date




                                               35
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 36 of 37 PAGEID #: 36




                                       VERIFICATION


      I, Robert J. Donald, declare as follows:

   1. I am an owner of The Donas Group, Inc.

   2. I have personal knowledge of The Donas Group, Inc. and its activities described in the

      Verified Complaint, and if called to testify I would competently testify to the matters

      stated herein.

   3. I swear under penalty of perjury of the laws of the United States that the factual

      statements related to The Donas Group, Inc. set forth in this Verified Complaint are true

      and correct to the best of my knowledge.




                                                            Robert J. Donald
                                                            The Donas Group, Inc.




                                                            Date




                                                 36
Case: 2:18-cv-01394-EAS-KAJ Doc #: 1 Filed: 11/07/18 Page: 37 of 37 PAGEID #: 37



                                     VERIFICATION


    I, Gregg Horwitz, declare as follows:

 1. I am an owner of Triangle Partners, Inc.

 2. I have personal knowledge of Triangle Partners, Inc. and its activities described in the

    Verified Complaint, and if called to testify I would competently testify to the matters

    stated herein .

 3. I swear under penalty of perjury of the laws of the United States that the factual

    statements related to Triangle Partners, Inc. set forth in this Verified Complaint are true

    and correct to the best of my knowledge.




                                                          Gregg Horwitz
                                                          Triangle Partners, Inc .




                                                          Date




                                               37
